Case 2:19-cv-11044-DML-DRG ECF No. 290, PageID.20534 Filed 04/28/23 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 DENNIS SPEERLY, et al., individually and on          Civil Action No. 2:19-CV-11044
 behalf of all other similarly situated,
                                                      Hon. David M. Lawson
 Plaintiffs,                                          Magistrate Judge David R. Grand

  v.

 GENERAL MOTORS LLC,

 Defendant.


                            NOTICE OF CHANGE OF LAW FIRM

         PLEASE TAKE NOTICE that pursuant to E.D. Mich. L.R. 11.2, the contact information

 of R. Allan Pixton, counsel for General Motors LLC, changed effective April 28, 2023. Please

 update R. Allan Pixton’s contact information for this matter as follows:

                                        R. Allan Pixton
                          Quinn Emanuel Urquhart & Sullivan, LLP
                             191 North Wacker Drive, Suite 2700
                                      Chicago, IL 60606
                            Email: allanpixton@quinnemanuel.com
                                 Telephone: (312) 705-7483

  DATED: April 28, 2023                     Respectfully submitted,


                                            /s/ R. Allan Pixton
                                            R. Allan Pixton, admitted pro hac vice
                                            QUINN EMANUEL URQUHART & SULLIVAN,
                                            LLP
                                            191 North Wacker Drive, Suite 2700
                                            Chicago, IL 60606
                                            Telephone: (312) 705-7483
                                            Facsimile: (312) 705-7401
                                            allanpixton@quinnemanuel.com
